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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

SHIRLEY A. HILSTER and CHARLES
W. HILSTER, JR.,

          Plaintiffs,

          v.                                         Civil Action No. 2:20-CV-01537-MJH

AIR & LIQUID SYSTEMS CORP, et
al..,

          Defendants.


                               STIPULATION OF VOLUNTARY
                          DISMISSAL PURSUANT TO F.R.C.P. RULE 41

          IT IS HEREBY STIPULATED AND AGREED by and between the Parties through their

respective Counsel, that the above-captioned action is voluntarily dismissed, without prejudice,

against Defendant Tri-State Generation & Transmission Association pursuant to Federal Rule of

Civil Procedure 41, each party to bear its own expenses, including attorney fees incurred in this

action.

          We, the undersigned Counsel for the Parties to this action, declare that this stipulation is

both consensual and mutual.


Respectfully Submitted,

By: /s/ Craig E. Coleman                  ...           By: /s/ Tausha Saunders

     Craig E. Coleman, Esquire                             Jacqueline M. Carolan, Esquire
     E-Mail: ccoleman@cbmclaw.com                          Email: JCarolan@FoxRothschild.com
     PA. I.D. #39391                                       PA. I.D. #52576

     CAROSELLI BEACHLER & COLEMAN, LLC                     FOX ROTHSCHILD LLP
     20 Stanwix Street, STE 700                            Firm No. 172
     Pittsburgh, PA 15222-4802                             2000 Market Street, 20th Floor
    Case 2:20-cv-01537-MJH Document 191 Filed 12/09/20 Page 2 of 2




                                        Philadelphia, PA 19103
Tel.: (412) 391-9860
                                        Tel: (215) 299-2000
Fax: (412) 391-7453
                                        Fax: (215) 299-2150
Benjamin D. Braly, Esquire
E-Mail: bbraly@dobslegal.com            Tausha Saunders, Esquire
PA. I.D. #312760                        Email: Tsaunders@foxrothschild.com
                                        PA I.D. #327856
DEAN OMAR BRANHAM SHIRLEY, LLP
302 N Market Street, STE 300            FOX ROTHSCHILD LLP
Dallas, TX 75202                        Firm No. 172
                                        500 Grant St., Ste. 2500
Tel.: (214) 722-5990
                                        Pittsburgh, Pennsylvania 15219
Fax: (214) 722-5991
                                        Tel: (412) 394-5572
                                        Fax: (412) 391-6984
Counsel for Plaintiff
                                        Counsel for Defendant Tri-State Generation
Dated: December 1, 2020
                                        & Transmission Association

                                        Dated: December 1, 2020




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